 

Case 19-17021 Doc13 Filed 06/06/19 Page 1 of 12

Fill in this information to identify your case:

Debtor 1 Phyl \ eo Wil Lam Clo

ist Name ° Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Greenbe Hoistrict of } Y ) i .
Case number (9 ~ 0 0 a ) 4 y
(If known)

 

 

QO

J Check if this is an
‘amended filing

 

 

Official Form 107 ;
Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/19

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. !f more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Give Details About Your Marital Status and Where You Lived Before

 

1. What is your current marital status?

C2 Married
Not married

2. _ last 3 years, have you lived anywhere other than where you five now?

No
O Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1: Dates Debtor 1: Debtor 2: / Dates Debtor 2
‘ lived there lived there
QO Same as Debtor 1 OQ Same as Debtor 1

LLY CathounSt — From 200b. From

. Number Street Number Street

To present ‘ To

 

 

 

 
   

 

 

 

 

 

 

 

 

 

State ZIP Code City State ZIP Code
() same as Debtor 1 () same as Debtor 1
From From
Number Street Number Street
To To
City State ZIP Code City State ZIP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
oe territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
No

LJ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 

 

 

Ez Explain the Sources of Your Income

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www Philp Wiliam chw cou nnteroma 19-(Z0 2)

First Name Middle Name Last Name

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

ae
Yes. Fill in the details.

 

Sources of income Gross income Sources of income Gross income
Check all that apply. (before deductions and’. Check:all that apply: (before deductions and
exclusions) exclusions)

From January 1 of current year until Wass, oommnissions, $ , Q) wages, commissions, $
the date you filed for bankruptcy: onuses, lips onuses, tip —_

Q) Operating a business Q) Operating a business

 

 

 

 

 

For last calendar year: QQ Wages, commissions, Q Wages, commissions,
bonuses, tips $ bonuses, tips $

(January 1 to December 31, wee Q) Operating a business Q) Operating a business

For the calendar year before that: CD Wages, commissions, C1 wages, commissions,
bonuses, tips bonuses, tips $

(January 1 to December 31, woe Cj Operating a business Q Operating a business

 

 

 

 

 

 

 

 

 

 

 

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest: dividends; money collected from tawsuits; royalties; and
gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

a source and the gross income from each source Separately. Do not include income that you listed in line 4.

No
Cl Yes. Fill in the details.

 

. Sources of income ‘Gross income from Sources of income Gross income.from
Describe below, each source Describe ‘below. each source
(before deductions and (before deductions and
exclusions) exclusions)

From January 1 of current year until —_—-_————_—_ So TG
the date you filed for bankruptcy:

For last calendar year:
(January 1 to December 31, )

$
YYYY

 

 

 

For the calendar year before that:

 

 

(January 1 to December 31, )
YYYY

 

 

 

 

 

 

 

 

 

 

 

Official Form 107 Statement of Financial Affairs for Individuats Filing for Bankruptcy page 2

 
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wer Philio  Wilham Clou/ cmonmveryun 19- (7027

First Name Mpdle Name Last Name

List Certain Payments You Made Before You Filed for Bankruptcy

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
C) No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

C) No. Go to line 7.

CL) Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
. 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

No. Go to line 7.
CI Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that

creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

 

 

 

Dates of Total. amount paid Amount you still owe Was this payment for...
payment :
$ $
Creditors Name O) Mortgage
CQ] Car
Number Street . Q Credit card

Q Loan repayment

 

QO Suppliers or vendors

 

 

 

 

 

City State ZIP Code CO other
$ $ QO Mortgage
Creditors Name
CQ) Car
Q Credit card

Number Street

CJ Loan repayment

 

) Suppliers or vendors

 

 

 

 

 

City State ZIP Code CD other
$ $ Q Mortgage
Creditors Name
Q Car

 

Number Street C) creait cara

) Loan repayment

 

Q) Suppliers or vendors

C) other

 

City State ZIP Code

 

 

 

 

 

 

 

 

 

 

 

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Debtor 1

First Name

Case 19-17021

Philin William Chu

Last Name

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Case number mm LA [ 7O of

 

 
 

agent, j

No

C} Yes. List all payments to an insider,

Dates of
_ payment

 

Insider's Name

 

i Number Street

 

 

City

State ZIP Code

 Totalamount

paid

Amount you still

owe

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their votin

cluding one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments

suchAs child support and alimony.

g securities; and any managing
for domestic support obligations,

Reason for this payment

 

 

 

Insider's Name

 

 

Number Street

 

 

 

 

City

an insider?

No

8. Within 1 year before you filed for bankruptcy,

State ZIP Code

f. payments on debts guaranteed or cosigned by an insider.

C} Yes. List all payments that beriefited an insider.

 

 

 

 

 

 

 

 

did you make any payments or transfer any property on account of a debt that benefited

 

 

Insider's Name

 

Number Street

 

 

 

 

City

State ZIP Code

 

Dates of Total-amount Amount you still, Reason for this payment
perment pan’ ome Include creditorsname
Insider's Name $
Number Street
City State ZIP Code
$

 

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Statement of Financial Affairs for Individuals Filing for Bankruptcy

 

page 4

 

 

 
 

 

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veer Divo Will@n Cou! cuennemn 19-1 70.2/

 

FirstName Last Name

Identify Legal Actions, Repossessions, and Foreclosures

 

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all sch matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,

 

CQ] Yes. Fill in the details.

 

 

 

 

 

 

 

 

 

 

Nature of the case Court or agency Status of the case
Case title. Court Name Q) Pending
Q On appeal
Number Street LI} concluded
Case number :
City State ZIP Code
Case title Court Name CJ Pending
Q On appeal
Number Street QO Concluded .
Case number
City State ZIP Code

 

 

 

10: Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
. all that apply and fill in the details below.

No. Go to line 11.
CI Yes. Fill in the information below.

Describe the property Date Value of the property

 

 

Creditors Name

 

 

 

Number Street . Explain what happened

LJ Property was repossessed.

LI Property was foreclosed.

LC) Property was garnished.

City State ZIP Code CQ) Property was attached, seized, or levied.

 

 

Describe the property. Date Value of the property

 

 

Creditor's Name

 

 

Number Street
Explain what happened

Property was repossessed.

Property was foreclosed.

Property was garnished.

Property was attached, seized, or levied.

 

 

City State ZIP Code

Oooo

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5

 

 
 

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wer Philo William Cov) ssennunn L4-(702/

First Name lidgle Name Last Name

11. Within 80 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accotints or refuse to make a payment because you owed a debt?

No

C) Yes. Fill in the details.

 

 

 

 

 

 

 

 

Describe the action the creditor:took : Date action Amount
: was taken :
Creditor's Name
$
Number Street
City State ZIP Code Last 4 digits of account number: XXXX— __

12. Within, 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
cpr a court-appointed receiver, a custodian, or another official?
No

QC) Yes

| Part 5: I Certain Gifts and Contributions

13. work years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

No
CJ Yes. Fill in the details for each gift.

Gifts ‘with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts

 

 

Person to Whom You Gave the Gift

 

 

Number Street

 

City : State ZIP Code

Person’s relationship to you

 

Gifts with a total value‘of more than $600 Describe the gifts ‘ Dates you gave. Value
per person the. gifts

 

Person to Whom You Gave the Gift

 

 

Number Street

 

City State ZIP Code

Person's relationship to you

 

 

 

 

 

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Debtor 1 Phi Ie W { | | ‘a mM C hu Case number (it known) | g = [ ZO ol /

irst Name Middie Name Last Name

a years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

No
C2 Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities Describe what you contributed Date you Value
that total more.than $600 contributed

 

 

Charity’s Name

 

 

 

Number Street

 

City State ZIP Code

 

List Certain Losses

 

 

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disasfér, or gambling?

No
CJ Yes. Fill in the details.

Describe the property you fost and". Describe any insurance coverage for the loss Date of your Value of property

how the loss occurred . coo, flee loss lost
Include the amount that insurance has paid. List pending insurance

claims on line 33 of Schedule A/B: Property.

 

 

 

 

 

 

 

 

 

ia Certain Payments or Transfers

 

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
we attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

No
C) Yes. Fill in the details.

 

 

 

 

Description and value of any property transferred Date paymentor Amount of payment
transfer was :
Person Who Was Paid . made
Number Street : i , / $
|
: $

 

City State ZIP Code

 

Email or website address

 

 

Person Who Made the Payment, if Not You

 

 

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owe Philo Will'am Clow cosnaeonn 14 -1702/

Middle Name Last Name

 

Description and value of any property transferred Date payment or. Amount of:
transfer was made: © payment

 

Person Who Was Paid

 

Number Street

 

 

City State ZIP Code

 

Email or website address

 

 

Person Who Made the Payment, if Not You

 

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.
whe

CI Yes. Fill in the detaits.

 

 

 

Description and value of any property transferred Date payment or. . Amount of payment
transfer.was
made
Person Who Was Paid :
Number _ Street : : ——__ $
$

 

City State ZIP Code

 

18. Within 2 years. before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?

Includg both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Desh gifts and transfers that you have already listed on this statement.
No

O Yes. Fill in the details.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

Person Who Received Transfer

Number Street

City State ZIP Code

Person's relationship to you

Person Who Received Transfer

Number . Street

City State ZIP Code

Person's relationship to you

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om Phi lie William Clow corsa 19> LOR)

First Name Middl Name Last Name

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
“venice (These are often called asset-protection devices.)
No

C) Yes. Fill in the details.

Description and.value of the property transferred Date transfer
‘was ‘made

 

Name of trust

 

 

 

 

 

 

EET ise Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokefage houses, pension funds, cooperatives, associations, and other financial institutions.
No
Q) Yes. Fill in the details.

Last 4 digits of account number Type of account or Date account was. Last balance before

 

 

instrument. closed, sold, moved, _-closing or transfer
or transferred
Name of Financial Institution
XXXX=. C) checking $
Number Street Q) Savings

Q Money market

 

Ql Brokerage
Q Other.

 

City State ZIP Code

 

XXXX-__ Q) checking $

Name of Financial Institution

Q Savings

 

Number Street C) Money market
QO Brokerage
C) other

 

 

City State ZIP Code

segtrities, cash, or other valuables?
o
Q Yes. Filt in the details.

24. et now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
N

 

 

 

Who else had.access to it? Describe the contents Do you still
: : _ have it?
OQINo
Name of Financial Institution Name (3 Yes

 

 

Number Street Number Street

 

 

City State ZIP Code

 

City State ZIP Code

 

 

 

 

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Debtor 1 hilt NA Lam Cou Case number (rknown) | | ~ (702 /

FitstName " ~ r Middie Name ~~ Last Name

22. Hevefou stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No
C) Yes. Fill in the details.

 

 

Who else has ‘or had access to it? Describe the. contents Do you still
have it?.
~ONo
Name of Storage Facility Name : 0 Yes
Number Street Number Street

 

 

City State ZIP Code

 

 

City State ZIP Code

 

 

Coe Identify Property You Hold or Control for Someone Else

23. Do yoy hoid or control any property that someone else owns? Include any property you borrowed from, are storing for,
or béld in trust for someone.
No

Q) Yes. Fill in the details.
Where is the property? : Describe the property Value

 

 

Owner's Name . $

 

Numb Street

 

Number Street

 

 

 

 

City State ZIP Code

 

 

City State ZIP Code

 

 

Give Details About Environmental information

For the purpose of Part 10, the following definitions apply:

_ ™ Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
i hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

s Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

a Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24, Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

 

 

 

 

 

 

 

 

 

No
C) Yes. Fill in the details.
Governmental unit Environmental law, if you know it Date of notice
Name of site Govermmental unit
Number Street Number Street
City State ZIP Code
City State ZIP Code
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 10

 

 
 

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ower Philio Weller Clow cmonmevnn L4-(702 |

First Name “Mifdle Name Last Name

25. ae notified any governmental unit of any release of hazardous material?
No

O Yes. Fill in the details.

 

 

 

 

 

Governmental unit Environmental law, if you know it Date: of notice
t y
Name of site Governmental unit
|
Number Street Number Street
City State ZIP Code

 

City State ZIP Code

 

 

 

26. ~ been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
No

C) Yes. Fill in the details.

 

 

 

 

 

 

 

Court or agency Nature of the case Status of the
; . _ case
Case title.
Court Name : O Pending
: QO On appeal
Number Street Q Concluded
Case number City State ZIP Code

 

Ei Give Detalls About Your Business or Connections to Any Business

 

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
OC) Asole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
C) Amember of a limited liability company (LLC) or limited liability partnership (LLP)
Q] A partner in a partnership
OQ) An officer, director, or managing executive of a corporation

wv An owner of at least 5% of the voting or equity securities of a corporation
N

io. None of the above applies. Go to Part 12.
Cl Yes. Check all that apply above and fill in the details below for each business.
Describe the nature of the business Employer Identification number
: : Do not include Social Security number or ITIN.

 

Business Name

EIN: -

 

Number Street

 

Name of accountant or bookkeeper ‘ Dates business:existed

 

 

 

 

From To

 

City State, ZIPCode

Describe the nature of the business : Employer Identification number
: Do not include Social Security:number or ITIN:

 

 

Business Name

 

 

Number Street :
Name:of accountant or bookkeeper Dates business existed

 

 

From To

 

 

 

 

City State ZIP Code

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 11

 
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our Pike Wikio (low cosrmen 14-1702)

First Name Midie Name Last Name

 

Employer Identification number
Do ‘not include Social:Security number or ITIN:

Describe the: nature of the business

 

 

Business Name
EIN: -

 

 

Number Street Name of accountant or bookkeeper Dates business existed

 

 

From To

 

City State ZIP Code

 

 

 

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

WNo

L) Yes. Fill in the details below.

Date issued

 

Name MM7DD/YYYY

 

Number Street

 

 

City State ZIP Code

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

x

Signature of Debtor 2

Date 7 6/ Zo/q Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

  

 

Signature

No
) Yes

ae pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
No

C) Yes. Name of person. . Attach the Bankruptcy Petition Preparers Notice,
Declaration, and Signature (Official Form 119).

 

 

 

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